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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


GREG ANDERSEN,

      Plaintiff,

v.                                     CASE NO.:

STRYKER EMPLOYMENT
COMPANY, LLC,

    Defendant.
___________________/

              COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, GREG ANDERSEN, by and through undersigned counsel, brings

this action against Defendant, STRYKER EMPLOYMENT COMPANY, LLC, and

in support of his claims states as follows:

                         JURISDICTION AND VENUE

      1.     This is an action for damages in excess of $30,000, exclusive of

interest, fees, and costs, and for declaratory relief, for violations of the Age

Discrimination in Employment Act (“ADEA”), 29 U.S.C § 621 et seq.

      2.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331

and 29 U.S.C. § 201 et seq.

      3.     Venue is proper in the Middle District of Florida, because all of the

events giving rise to these claims occurred in Hillsborough County, Florida.

                                     PARTIES

      4.     Plaintiff is a resident of Hillsborough County, Florida.
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         5.    Defendant operates a medical technology company in Tampa, in

Hillsborough County, Florida.

                             GENERAL ALLEGATIONS

         6.    Plaintiff has satisfied all conditions precedent, or they have been

waived.

         7.    Plaintiff has hired the undersigned attorneys and agreed to pay them

a fee.

         8.    Plaintiff requests a jury trial for all issues so triable.

         9.    At all times material hereto, Plaintiff was an “employee” of

Defendant within the meaning of the ADEA.

         10.   At all times material hereto, Defendant employed twenty (20) or

more employees. Thus, Defendant is an “employer” within the meaning of the

ADEA.

                                          FACTS

         11.   Plaintiff began working for Defendant on April 2017 as a Sales

Representative, and he worked in this capacity until December 2021.

         12.   Plaintiff is 56 years of age.

         13.   Defendant regularly terminates Sales Representatives who are over

the age of 40 for pretextual reasons and replaces them with younger salespeople.

         14.   In December 2021, Defendant terminated Plaintiff’s employment for

a pretextual reason and replaced him with a much younger salesperson.



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      15.    Other persons outside of Plaintiff’s protected class engaged in

similar behavior with the company’s knowledge and were not terminated.

      16.    Defendant discriminated against Plaintiff because of his age by

terminating his employment for a pretextual reason, a reason they did not

terminate persons outside of Plaintiff’s protected class for, and replacing him

with a much younger salesperson.

                         COUNT I – ADEA VIOLATION

      17.    Plaintiff realleges and readopts the allegations of paragraphs 1

through 16 of this Complaint, as though fully set forth herein.

      18.    As an individual who is over forty years of age, Plaintiff is a member

of a protected class under the ADEA.

      19.    Plaintiff was subjected to disparate treatment based on his age.

      20.    Defendant’s actions were willful and done with malice.

      21.    Plaintiff was injured due to Defendant’s violations of the ADEA, for

which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             a)     A jury trial on all issues so triable;

             b)     That process issue and that this Court take jurisdiction over

                    the case;

             c)     An injunction restraining continued violation of the ADEA;

             d)     Compensation       for   lost    wages,   benefits,   and   other

                    remuneration;

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          e)     Reinstatement of Plaintiff to a position comparable to his prior

                 position with back pay plus interest, or in the alternative, front

                 pay;

          f)     Liquidated damages in an amount equal to Plaintiff’s total

                 damages;

          g)     Prejudgment interest on all monetary recovery obtained.

          h)     All costs and attorney’s fees incurred in prosecuting these

                 claims; and

          i)     For such further relief as this Court deems just and equitable.

                          JURY TRIAL DEMAND

    Plaintiff demands trial by jury as to all issues so triable.

    Dated this 23rd day of May, 2022.

                                      Respectfully submitted,



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